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NOT FOR PUBLICATION

                                 UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEW JERSEY

 $HIREESHA REDDY CHERUKU and                                    Civil Action No.: 14-6855 (CCC-MF)
 MAHENDER REDDY CHERUKU,

                   Plaintiffs,                                          ORDER

         V.


 UNITED STATES DEPARTMENT OF
 HOMELAND SECURITY, et al.,

                   Defendants.

       Before the Court is the request from Plaintiffs Shireesha Reddy Cheruku and Mahender

Reddy Cheruku (“Plaintiffs”) to reopen this case. [ECF No. 25.] It appearing that:

1. This litigation is the latest in a series of legal proceedings spanning more than 20 years

   regarding Plaintiffs’ immigration status. The parties substantially agree on the facts in this

   case. [See generally Amended Complaint (“Am. Compi.”), ECF No. 3; see also Pis. Resp. at 4,

   ECF No. 14 (“The underlying facts in this case are not in dispute.”).] The relevant facts are as

   follows.

       a. On December 12, 2001, Shireesha filed an application (the “Application”) for

              adjustment of her immigration status to that of a lawful permanent resident under the

              LIFE Act Amendments. See $ U.S.C.       §   1255(i). [Am. Compl.   ¶ 22.]   Her application

              was denied by United States Citizenship and Immigration Services (“USCIS”) on

              April 28, 2004.

       b. In its decision denying her Application, USCIS stated: “You departed the United States

              on advance parole on an unknown date and returned to the United States on November

              28, 2002 to resume you[sic] application for adjustment of status.” [ECF No. 10-3.]

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       c. After further legal proceedings (involving USCIS, the Board of Immigration Appeals

            (“BIA”), Immigration Court, and the United States Court of Appeals for the Third

            Circuit), Shireesha was detained by Immigration and Customs Enforcement (“ICE”) in

            April 2012. [Am. Compi.          ¶ 38.]
       U. Facing imminent removal, on April 16, 2012, Shireesha filed with the BIA an

            Emergency         Request   to        Stay       her   removal    and   a   Motion   to   Reopen

            (the “2012 BIA Motion to Reopen”) her case. [Am. Compl.                 ¶ 40.]
       e. One day later, on April 17, 2012, in an unrelated precedential decision, the BIA held

            that:

                        [A]n alien who has left and returned to the United
                        States under a grant of advance parole has not made
                        a “departure.    .from the United States” within the
                                             .



                        meaning of section 212(a) (9) (3) (i) (II) of the
                        [Immigration and Nationality] Act.

            Matter ofArrabally and Yerrabelly, 25 I&N Dec. 771 (BIA 2012). Shireesha amended

            her motion to reopen and brought the Arrabally case to the BIA’s attention. [Am.

            Compl.   ¶ 41.]
       f.   On April 25, 2012, the BIA denied Shireesha’s Emergency Request to Stay her

            removal.    [Am. Compl.          ¶   42.]       On May 1, 2012, the BIA denied a request for

            reconsideration. [Am. Compi.                ¶   42.] Shortly thereafter, Shireesha was physically

            removed to India. [Am. Compl.               ¶ 43.]
       g. Three weeks later, on May 23, 2012, the BIA granted the 2012 BIA Motion to Reopen,

            noting the change in the law.1 [Am. Compl.               ¶ 44.]



 At this point, it does not appear that the Court has been provided with a copy of the BIA’s May
23, 2012 decision.

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       h. $hireesha’s case was then remanded to the Immigration Court in Newark.2 [Am.

            Compi.   ¶ 45.]
       i.   On December 13, 2013, Immigration Judge (“IJ”) Frederic Leeds terminated

            Shireesha’s Order of Removal.3

       j.   Four months afler her proceedings were terminated by the II, on April 7, 2014,

            Shireesha filed a Motion to Reopen in USCIS (the “2014 USCIS Motion to Reopen”).

            [Am. Compl.       ¶ 46.]
       k. On August 15, 2014, USCIS denied Shireesha’s 2014 USCIS Motion to Reopen, stating

            that the motion was not filed within 30 days of the April 28, 2004 denial of her original

            Application. [ECF No. 10-2.] USCIS also stated:

                        [I]t appears that you are not present in the United
                        States at this time and are not eligible for Adjustment
                        of Status. Despite your claim the Service does not
                        find that your last departure from the United States
                        was pursuant to advanced parole.

            [ECF No. 10-2.]            Finally, USCIS stated that “[t]his motion is not only statutorily

            denied, but is also denied as a matter of discretion as the positives do not outweigh the

            negatives in this instance.” [ECF No. 10-2.]

2. Plaintiffs filed the Complaint in this action on October 31, 2014. [ECF No. 1.] Plaintiffs

    subsequently filed an Amended Complaint on November 18, 2014. [ECF No. 3.] In their

    Amended Complaint, Plaintiffs appear to seek this Court’s review of U$CIS’s 2004 decision




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  At this point, it does not appear that the Court has been provided with a copy of the Order
remanding the case to the Immigration Court.
 At this point, it does not appear that the Court has been provided with a copy of the IJ’s
December 13, 2013 decision.

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   denying Shireesha’s Application for status adjustment. Alternatively, Plaintiffs appear to seek

   this Court’s review of USCIS’s decision denying Shireesha’s 2014 USCIS Motion to Reopen.

3. On March 5, 2015, the Defendants filed the instant Motion to Dismiss. [ECF No. 10.] As it

   pertains to Shireesha, Defendants’ motion contends that: (1) Shireesha lacks standing to bring

   her claims; (2) this Court does not have the authority to compel USCIS to grant $hireesha’s

   Application for status adjustment; and (3) this Court cannot review the USCIS’ denial of

   $hireesha’s 2014 USCIS Motion to Reopen de novo and, alternatively, USCIS properly

   adjudicated the 2014 USCIS Motion to Reopen. [See ECF No. 10.]

4. On April 16, 2015, Plaintiffs’ filed a memorandum in opposition. [ECF No. 14.] Plaintiffs

   argue that this Court has jurisdiction over this dispute and should order USCIS to comply with

   the law.   [See Id.]   On May 7, 2015, Defendants filed a reply to Plaintiffs opposition

   memorandum.        [ECF No. 19.]        The Court held a conference with the parties on

   November 23, 2015.

5. Subsequent to the November 23, 2015 conference with the Court, the parties consented to a

   stay and administrative termination of the case to allow them to work toward a resolution by

   pursuing alternative administrative options. [ECF No. 24.] The Court ordered that the case

   could be reopened by letter request of either party. [Id.]

6. On February 25, 2016, Plaintiffs’ counsel requested by letter that the case be reopened and

   represented that the parties have engaged in “considerable and good faith attempts to negotiate

   a settlement to this matter,” but were “unable to do so.” [ECF No. 25.]

7. The Court has reviewed the parties’ submissions and has determined that it requires additional

   briefing on the following legal issues: (1) whether the Court has jurisdiction to grant Plaintiffs

   relief and, if so, the scope of the relief the Court can grant; (2) the implications of a change in



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   statutory interpretation on previous agency orders; (3) the extent and nature of USCIS’s nunc

   pro tunc discretionary power to adjust an immigrant’s legal status; and (4) the applicability of

   resjudicata in the administrative context.

8. Underlying the legal issues identified above are numerous factual questions. Accordingly, in

   their supplemental briefs, the parties are directed to provide the Court with answers to the

   following questions, among other things:

               i. How, if at all, did the BIA’s 2012 decision in Arrabally impact the

                  April 28, 2004 USCIS decision denying Shireesha’s Adjustment of Status

                  application?

              ii. How, if at all, does the November 20, 2014 memorandum issued by Jeh

                  Johnson4 impact the April 28, 2004 USCIS decision denying Shireesha’s

                  Adjustment of Status application?

              iii. What were the ramifications of the BIA’s May 23, 2012 decision to grant

                  Shireesha’s 2012 BIA Motion to Reopen after she had already been physically

                  removed? (In answering this question, the Court requests that the parties submit

                  the May 23, 2013 BIA decision for the Court to review.)

              iv. What were the ramifications ofthe IJ’5 December 13, 2013 decision terminating

                  Shireesha’s Order of Removal after she had already been physically removed?

                  (In answering this question, the Court requests that the parties submit the Order




  Johnson, Jeh, Directive to Provide Consistency Regarding Advance Parole [Memorandum]
Washington, D.C. Department of Homeland Security. November 20, 2014. The Memorandum
was published following the Board of Immigration Appeals decision in Matter of Arrabally and
Yerrabelly. 25 I. & N. Dec. 771 (BIA 2012) (“[I]n all cases when an individual physically leaves
the United States pursuant to a grant of advance parole, that individual shall not have made a
‘departure’ within the meaning of section 212(a)(9)(B)(i) of the INA.”).

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                   remanding the case to the Immigration Court as well as the December 13, 2013

                   IJ decision for the Court to review.)

               v. Does this Court have the jurisdiction and authority to review USCI$’s 2004

                   decision denying $hireesha’s Application for status adjustment? If so, from

                   where does the Court derive that authority, what is the relevant standard of

                   review, and what is the scope of relief the Court can grant?

              vi. Does this Court have the jurisdiction and authority to review USCIS’s 2014

                   decision denying the 2014 USCIS Motion to Reopen? If so, from where does

                   the Court derive that authority, what is the relevant standard ofreview, and what

                   is the scope of relief the Court can grant?

             vii. Even if this Court could compel USCIS to reopen Shireesha’s Application,

                   would USCIS have the discretionary power to grant Shireesha’s Application for

                   status adjustment nunc pro tunc?

               Accordingly,

       ITlSonthisl7dayof          /‘&ç        f             ,2016,

       ORDERED that the Clerk shall REOPEN the case by making a new and separate docket

entry reading “CIVIL CASE REOPENED”; and it is further;

       ORDERED that by October 5, 2016, each party shall submit a supplemental brief of no

more than 20 pages addressing the issues identified above; and it is further

       ORDERED that upon receipt of the parties supplemental briefs, Defendants’ Motion to

Dismiss (ECF No. 10) shall be reinstated.



       SO ORDERED.

                                                           CLAIRE C. CECCHI, U.S.D.J.

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